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                                    (Rtil~ l'iurnber/Section)
 1                      Diamond Age Corp.                                        _   "ECEJVED      COPY
                    1215 S. Kihei Rd. Ste 0# 339,
 2                      KlHEI, HAWAII 96753                                            MAY 2 5 2021
                      Telephone: 808-359-7789
 3 Jake Ganor                                                                     CLERK U S DISTRICT COUA1
                                                                                    ,DlSTA      ARI .NA
   President, Diamond Age.                                                       BY                   DEPUn
 4 Jakeganor@gmail.com
   Pro Se on Behalf ofDefendant
 5
 6                                           UNITED STATES DISTRICT COURT
 7                                                         DISTRICT OF ARIZONA
 8 Armored Republic, LLC d/b/a AR500 NO. 2:20-cv-01366-DLR
   Armor, an Arizona limited liability
 9 company,
10                                                              Plaintiff,
                                                                              MOTION TO STAY PROCEEDINGS
11   V.                                                                        PENDING RESOLUTION OF A
                                                                                  WRIT OF MANDAMUS
12 Diamond Age                         Corp.,              a       Delaware
   corporation,
13
                                                                Defendant.
14   11---------------------11

15
16             Defendant Diamond Age Corp., in the above-captioned action by Armored

17 Republic, LLC d/b/a AR500 Armor, hereby respectfully requests that the Court stay
18
     proceedings pending resolution of a petition for writ of mandamus to the United States
19
     Court of Appeals for the Ninth Circuit.
20
21             Thi~ motion is made based on Federal Rule of Appellate Procedure 8, which

22 authorizes the District Court to stay an action, order, or judgment, pending resolution of
23
     an appeal. Defendant is simultaneously petitioning the Court of Appeals for the Ninth
24
     Circuit for an emergency stay of proceedings in this District Court under Circuit rule
25
26 27-3.

27
28
         Case 2:20-cv-01366-DLR Document 55 Filed 05/25/21 Page 2 of 53




   1           With one exception, this Court's May 17th Order denying Defendant's Motion to
  2
       Proceed Pro Se leaves Defendant with no immediate recourse in the shadow of default.
   3
       That one exception is the procurement of a writ of mandamus.                Accordingly,
  4
   5 Defendants' are moving as expeditiously as possible to seek appellate review, and have

   6 filed a petition for a writ of mandamus simultaneously with this Motion. As Defendant
   7 is nevertheless in the shadow of default, it requests emergency relief from this Court in
   8
       the form of a stay of proceedings, for as long as the Ninth Circuit contemplates its
   9
 1o appeal, and until it issues a ruling.

 11            Plaintiff Armored Republic has expressed to Defendant that it is opposed to a
 12
       stay.
 13
               Standard for seeking a stay
 14
               This Court has "inherent power to control the disposition of the causes on its
 15
 16 docket [toJ promote economy of time and effort for itself, for counsel, and for [theJ
 17 litigants" by staying this matter pending appellate review. CMAX, Inc. v. Hall, 300 F.2d
 18
    265, 268 (9th Cir. 1962); see also Landis v. N Am. Co., 299 U.S. 248, 254 (1936);
 19
    Filtrol Corp. v. Kelleher, 467 F.2d 242, 244 (9th Cir. 1972); Mediterranean Enters., Inc.
 20
 21 v. Ssangyong Corp, 708 F.2d 1458, 1465 (9th Cir. 1983) ("A trial court may, with
 22 propriety, find it is efficient for its own docket and the fairest course for the parties to
· 23
       enter a stay of an action before it, pending resolution of independent proceedings which
 24
       bear upon the case." (citation omitted)).
 25
 26            District courts typically apply a four-factor test to determine whether to issue a
 27 stay of an order: (1) the applicant's likely success on the merits; (2) irreparable injury to
 28

                                                    2
       Case 2:20-cv-01366-DLR Document 55 Filed 05/25/21 Page 3 of 53




 1 the applicant absent a stay; (3) substantial injury to the other parties; and (4) the public
 2
     interest. Hilton v. Braunskill, 481 U.S. 770, 776 (1987); see Nken v. Holder, 556 U.S.
 3
     418, 433-34 (2009); Leiva-Perez v. Holder, 640 F.3d 962, 970 (9th Cir. 2011) (Nken
 4
 5 requires a showing of irreparable harm, but applies a balancing test showing "that
 6 irreparable harm is probable and either: (a) a strong likelihood of success on the merits
 7
     and that the public interest does not weigh heavily against a stay; or (b) a substantial
 8
     case on the merits and that the balance of hardships tips sharply in the petitioner's
 9

10 favor"). Defendants easily satisfy all four factors, as will be shown below.
11          Argument
12          1. A substantial case on the merits
13
            Defendant is aware of the unusual position it finds itself in, but believes that it
14
     has a substantial case on the merits. Its petition to the Ninth Circuit has been served on
15
16 all parties to this litigation, and is here appended as Exhibit A. Defendant incorporates
17 all of Exhibit A's arguments here.        These include an argument from recent
18
   developments in the courts; several arguments from both the US and Arizona
19
   constitutions; an argument from a review of contemporary jurisprudential thought as to
20
21 the nature of "humanness" and the function, rights, and raison d'etre of a corporation or

22 association of persons; an argument from public policy, which effectiv_ely functions as a
23
     behavioristic argument; finally, a stark analogy to old English law -    and even older,
24
     indeed Ancient law -    which highlights the notion that default would be· an excessive
25
26 sanction in this or any analogous case. (Still further, Seneca, in his Laws, wrote: "No

27 sensible person punishes because a wrong has been done, but in order that a wrong
28

                                                  3
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 1 may not be done."       Defendant feels that default would be a punishment to neither
 2
     purpose, and would constitute an unearned and unjust windfall for Plaintiff.)
 3
            Defendant hesitates to accuse the Court of error, but feels that the Court has
 4

 5 clearly erred in not addressing some of these arguments when they were presented in the

 6 first Motion to Proceed Pro Se.
 7          It may be pointed out that the Court noted in its Order that "[Citizens United and
 8
     Hobby Lobby] cannot reasonably be read as eroding the centuries-old rule that
 9
10 corporations can appear in federal court only through licensed counsel." That this is

11 true, certainly insofar as the particular topic of corporate pro se representation was not
12 directly broached, yet the spirit of the Supreme Court's ruling should be taken into
13
   consideration, particularly where Justice Alito wrote in the Hobby Lobby decision:
14
            "Congress provided protection for people like the Hahns and Greens by
15
16 employing a familiar legal fiction: It included corporations within RFRA 's definition o
17 ''persons. " But it is important to keep in mind that the purpose of this fiction is to
18
     provide protection for human beings. [. . .] When rights, whether constitutional or
19
     statutory, are extended to corporations, the purpose is to protect the rights of these
20
21 people. For example, extending Fourth Amendment protection to corporations protects

22 the privacy interests of employees and others associated with the company. Protecting

23
     corporations from government seizure of their property without just compensation
24
     protects all those who have a stake in the corporations' financial well-being. And
25
26 protecting the free-exercise rights of corporations like Hobby Lobby, Conestoga, <ind

27
28

                                                 4
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 l Mardel protects the religious liberty of the humans who own and control those
 2
     companies." (Emphasis added.)
 3
           What defendant seeks is not the protection of its privacy interests or its religious
 4
 5 liberty. What defendant seeks is nothing less than its continued existence, its right to

 6 the fruits of its own labor, its right to a trial by jury, its right to directly face charges
 7
     leveled against it, and indeed more. If Hobby Lobby deserves protection, Defendant
 8
     believes that it stands in no lesser need of protection.
 9
             Defendant therefore believes that it has, if nothing else, a substantial case on the
10

11 merits.
12           It might go without saying that there are, at the very least, dozens of conceivable
13
     ways whereby the courts might offer Defendant "protection" and preserve Defendant's
14
     right to a trial. Although leave to proceed pro se is Defendant's favored option, for it
15
16 feels that begging for assistance or imposing costs upon the court would be less

17 dignified, it noted in its Petition to the Ninth Circuit that it "will not disdain any other
18
     relief the [Circuit] Court sees fit to offer." (Emphasis in original.) This likely makes its
19
     case still more substantial on the merits, and its right to a writ clear and indisputable.
20
21 See, e.g., Beacon Theatres, Inc. v. Westover, 359 US 500, 511, "There can be no doubt

22 that a litigant is entitled to a writ of mandamus to protect a clear constitutional or

23
     statutory right to a jury trial."
24
             2. Defendant will be irreparably harmed absent a stay.
25
26           Defendant will suffer immediate, irrepar~ble harm absent a stay. To Defendant's

27 information and belief, it seems that, as a·practical matter, proceedings are either stayed,
28

                                                    5
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 1 or they are not. If they are stayed, tlien all parties need only await the Ninth Circuit's
 2
     determination of Defendant's petition and appeal. But if they are not stayed, then, to
 3
     Defendant's information and belief, Defendant is in default and staring down a default
 4
 5 judgment, which seems as though it would be, at the very least, profoundly unjust,
 6 irreparably harmful, and which may render the entire petition for a writ of mandamus
 7 moot. (Or would at least complicate matters severely, impinging upon the economy of
 8
   the Court and the resources of all parties.)
 9
         Default is arguably not warranted in this instance at all. As noted in the Petition
10
11 and the Appendix to this Motion, the most-cited theory underlying default judgments is
12 that~ by its failure to timely answer or acknowledge the jurisdiction of the court, the
13
   defaulting party implicitly "admits the cause of action is valid, admits [it] has no
14
   defense, and consents to suffer judgment." Keeler Bros. v. Yellowstone Valley Nat'!.
15
16 Bank, 235 F. 270, 270 (D. Mont. 1916). This is certainly not the case here.
17         Even in a more general and less theoretical sense, default is a sanction rightly
18
     referred to as "drastic," to be used only in "extreme" situations, and one not always
19
     justified by general principles.   See: "In {the] final analysis, a court has the
20
21 responsibility to do justice between man and man; and general principles cannot justify
22 denial of a party's fair day in court except upon a serious showing of willful default."

23
     Gill v. Stolow, 240 F.2d 669, 670 (2d Cir. 1957). "Default judgments are a drastic
24
     remedy, not favored by the Federal Rules and resorted to by courts only in extreme
25
26 situations." Sun Bank of Ocala v. Pelican Homestead & Sav. Ass'n., 874 F.2d 274, 276

27 (5th Cir. 1989). "Judgments by default are drastic remedies and should only be resorted
28

                                                6
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 l   to in extreme situations." Charlton L. Davis & Co., P.C. v. Fedder Data Ctr., Inc., 556
 2
     F.2d 308, 309 (5th Cir. 1977).
 3
            Further arguments to this effect are in Exhibit A -    particularly in pages 17-19,
 4
 5 22, 26-27, 29 -    and are incorporated here.

 6          It must also be noted that there is not just "some possibility" of irreparable harm:
 7 Plaintiffs counsel has already said, in a telephone status conference with the Court, that

 8
     they will seek to strike Defendant's answer as soon as practicable.
 9
            Granted, the underlying principle in determining whether to grant or deny a stay
10
11 is that "[t]he right to proceed in court should not be denied except under the most
12 extreme circumstances." Commodity Futures Trading Comm'n v. Chilcott Portfolio
13
   Mgmt., Inc., 713 F.2d 1477, 1484 (10th Cir. 1983) (quoting Klein v. Adams &
14
   Peck, 436 F.2d 337, 339 (2d Cir. 1971)). Yet the present situation is by definition an
15
16 extreme circumstance, as a default judgment may be involved, and, as noted just above,

17 "[j]udgments by default are drastic remedies and should only be resorted to in extreme
18
     situations."
19
            Corollary: If it's extreme enough for default, it's extreme enough for a stay.
20
21          3. The balance of hardships overwhelmingly favors Defendant.

22          When considering the balance of hardships in this instance, where a denial of the
23
     present Motion may rapidly lead to a default, one might be reminded of the old adage
24
     by Schopenhauer, to "compare the feelings of an animal that is devouring another with
25
26 those of the animal being devoured." If a stay is not granted, Plaintiff wins a small

27 immediate victory which may turn into a larger victory via a forced default -             yet
28

                                                   7
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 1 Defendant faces nothing less than ruin, and, as stated above, may be deprived of its right
 2
     to the fruits of its own labor, its right to a trial by jury, and more. If a stay is granted,
 3
     then both parties wait for the Ninth Circuit to decide Defendant's appeal, which should
 4
 5 do little harm to either patty, does little or no prejudice to either party, and certainly
 6 does no harm remotely comparable to that which Defendant might suffer in the event
 7
     this Motion is denied. The balance of hardships overwhelmingly favors Defendant.
 8
            4. The public interest will be served by a stay.
 9
            Normally, the public's interest in any given civil suit is solely that it be resolved
10
11 in an efficient and just way.        Whereas a stay in this instance would not promote
12 efficiency, it would serve the interests of justice. Defendant believes that, between
13
   efficacy and justice, the latter is the more important, which weighs in favor of granting
14
15 the present Motion.
16          But this situation is not normal, it is highly irregular. It could fairly be said that,

17 in contemplating Defendant's petition, the Ninth Circuit is faced with a question on the
18
     frontiers of the law with potentially far-reaching implications.
19
            Defendant's petition to the Ninth Circuit may therefore be one ofprofound public
20
21 interest, which is yet another point in favor of granting the present Motion. In Landis v.

22 North American Co., 299 US 248, 256, it was noted by the Supreme Court that,
23
     "{e]specially in cases of extraordinary public moment, the individual may be required
24
     to submit to delay not immoderate in extent and not oppressive in its consequences if the
25
26 public welfare or convenience will thereby be promoted."

27
28

                                                    8
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 1          Both the interests of justice, and the general public interest, will be promoted if a
 2
     stay is granted by this Court.
 3

 4
 5                                           CONCLUSION

 6          For good cause shown, the Court should stay proceedings until the Ninth Circuit
 7
     Court of Appeals rules on the mandamus petition.
 8
            DATED and RESPECTFULLY SUBMITTED this 24th day of May, 2021.
 9

10
11
12
                        f
                   Jacob Ganor
13                 President and Sole Shareholder, Diamond Age Corp.
                   Pro se on behalf of Defendant.
14
15
16
                                  CERTIFICATE OF SERVICE
17
18          I hereby certify that on the 24th d_ay of May 2021, I have mailed this document
     via express courier to the Clerk's Office, and have e-mailed it to:
19
20 Bradley A. Burns, Esq.
   bburns@dickinsonwright.com
21 Amanda E. Newman, Esq.
   anewman@dickinsonwright.com
22 Dickinson Wright PLLC
23 1850 North Central Avenue, Suite 1400
   Phoenix, AZ 85004
24 Attorneys for Plaintiff
25




        Jc ~
26
27
     JacGanor
28

                                                  9
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                        )




 EXHIBIT A.
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     UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT



                      IN RE DIAMOND AGE CORP.



                         Diamond Age Corporation,

                                   Petitioner

                                       v.

               United States District Court, District of Arizona,

                                 Respondant,



                           Armored Republic, LLC

                             Real Party in Interest



                    From the United States District Court

                              District of Arizona

                     Case No.: CV-20-01366-PHX-DLR




 PETITION FOR A WRIT OF MANDAMUS AND AND EMERGENCY

MOTION FOR A STAY OF PROCEEDINGS UNDER CIRCUIT RULE 27-3
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                   CIRCIDT RULE 27-3 CERTIFICATE



 1. Telephone Numbers and Office Addresses of the Attorneys for the Parties

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II
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 Pursuant to Circuit Rule 27-3(a), I hereby certify that opposing counsel were

 notified of our intentions to pursue this Petition at the first possible opportunity,

 namely on May 17th 2021, that the District Court was notified very shortly

 thereafter, in a telephone status conference· that took place on May 18th, and that

 the district court clerk and all parties were notified of the filing of this Petition

 and motion immediately upon its completion, on May 24th •

        I hereby certify to the Court that, to avoid irreparable harm to petitioners

 Diamond Age Corp., relief in the form of a stay of proceedings is needed at the

 Court's earliest convenience, in less than 21 days' time.

        1. Regarding Circuit Rule 27-3(c)(ii), the facts showing the existence and

nature of the claimed emergency are set forth in detail below in the Statement of

the Facts and in the Argument. In brief, entry of a default judgment would

constitute the severest form of prejudice against Petitioner. Petitioner therefore

requests emergency relief in the form of a stay of district court proceedings

while its Petition for a writ of mandamus is pending. In addition to the present

Petition, Petitioner is simultaneously filing in the district court a Motion for a

Stay Pending a Petition for a Writ of Mandamus.

       2. Regarding Circuit Rule 27-3(c)(iii), Petitioner certifies to the Court that

this motion was prepared and filed at the first possible opportunity, and was

drafted in all haste.

       3. Regarding Circuit Rule 27-3(c)(iv): This emergency motion, Motion

for a Stay Pending Appeal, and Petition for Writ of Mandamus have been


Ill
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 served on all parties to the proceedings at the time of this filing. Real Party in

Interest's counsel were notified through e-mails sent on May 17th, and further

through a telephone conference held on May 18th, of Petitioner's intended filing

of this mandamus petition and emergency motion. Counsel and the district

court are being served with the just-finalized petition and motion

simultaneously with this filing, via email and/or express courier.

       4. Regarding Circuit Rule 27-3(c)(v), as set forth in the Petition below

(pp. 4, 8-9), Petitioner has sought -   and been denied - relief from the district

court. Indeed, the district court's denial of Petitioner's Motion for Leave to

Proceed Pro Se, see Exhibit A hereto, is the precipitating event for the instant

filing. Petitioner is simultaneously filing in the district court a Motion for a

Stay Pending a Petition for a Writ of Mandamus.




IV
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                CORPORATE DISCLOSURE STATEMENT

Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 21-3,

Petitioner Diamond Age Corp. hereby states that it has no parent companies,

subsidiaries, or affiliates that have issued shares to the public.



Dated: May 24th, 2021




By:~~
Jacob Ganor
215 S. Kihei Rd. Ste 0# 339,
Kihei, Hawaii, 96753
Telephone: 808-359-778
Email: jakeganor@gmail.com
Pro se on behalf ofPetitioner.




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       I. Introduction and Statement of Case

       Petitioner, Diamond Age Corporation, is a small research and

development corporation that develops and manufactures ballistic armor and

-related products. Real Party in Interest, Armored Republic, manufactures and

sells ballistic armor, body armor, an~ other products. In June 2019, the parties

entered into negotiations where the ultimate intention was that Armored

Republic would market and distribute a helmet product developed over the

previous couple years by Petitioner.

       In September 2019, the parties were engaged in drafting an "AR500

Armor Marketing and Distribution Agreement," which would have provided

that Armored Republic is the exclusive distributor, in most of the world, of

certain helmet shells and other products developed and manufactured by

Petitioner.

      A framework for the agreement was completed, while certain essential

terms -   such as price -   were still subject to negotiation, as acknowledged by

both parties.

      While these negotiations were ongoing, and before a draft of a completed

Distribution Agreement containing a price term was circulated, Armored

Republic sent Petitioner a purchase order for 1,000 helmets at a at a specially-

negotiated discounted price of $95 per helmet for that order only.

      Shortly after that purchase order was received, and in an effort to

complete the Distribution agreement in good faith, Petitioner offered $120 per


1
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helmet as part of "Exhibit B" to the Distribution Agreement, an offer which

Armored Republic never acknowledged, accepted, or signed. Petitioner, also,

did not sign the draft "Exhibit B."

       Section 22(b) of the Distribution Agreement framework contains an

integration clause requiring that all terms, including amendments, be written

and signed by both parties to be enforceable. Since neither party signed Exhibit

B with its offered price term of $120, the Distribution Agreement never became

complete or enforceable.

      Petitioner delivered all 1,000 helmets to Armored Republic, pursuant to

their purchase order. Armored Republic breached the purchase order by failing

to pay $55,225. Adding insult to injury, Armored Republic attempted to use that

outstanding payment as a bargaining chip in negotiations over the Distribution

Agreement, effectively saying that they will make their payment if Petitioner

makes permanent contractual concessions and offers further discounts.

      Based on that wanton material breach -    and, as a secondary

consideration, on Armored Republic's conduct, including their failure to engage

in reasonable marketing efforts and their misrepresentations in claiming that

they are the helmet's manufacturer - Diamond Age gave notice of termination

of the Distribution Agreement, as a formality. This met with no response from

Armored Republic, and, in the event the Distribution Agreement was ever a

valid contract, properly took effect following a 30-day cure period.
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       Twenty-three days into that cure period, Armored Republic served

Petitioner with an action in Arizona State Superior Court, seeking to enforce,

via injunction, the incomplete Distribution Agreement framework which they

earlier couldn't bother to sign or acknowledge, and which was en route to

proper termination in the event it ever became enforceable. This, ostensibly, in

an effort to bar Petitioner from selling the helmet to other interested parties.

       Armored Republic also sought, at minimum, $500,000 in damages. It

must be noted that despite Rule 26 and Comments, Armored Republic have still

not provided a calculation of damages or supplied or identified supporting

documents.

       This action was promptly removed to the Federal District Court on basis

of diversity jurisdiction.

      Petitioner then sought to vigorously defend itself with the aid of counsel,

filing eight counterclaim counts against Armored Republic, largely for breach

of the October 14, 2019 purchase order, for failure to pay $55,225 for the 1,000

delivered helmets, for conversion and unjust enrichment, and for breach of the

covenant of good faith and fair dealing, among others.

      Over nine months, the case proceeded through to the early stages of

discovery. By March 2021, Petitioner was forced to part ways with counsel

because it could no longer afford to pay their bills and because said counsel

would not entertain working on a contingency or deferred compensation basis.




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Said bills by this time had totaled nearly $80,000, far exceeding the $55,225

that Armored Republic had already deprived Petitioner of.

         Petitioner assiduously sought the assistance of new counsel, eventually

going so far as to contact its congressman and various legal aid providers.

Attorneys that will assist in a small-dollar corporate defense on a contingency

fee or deferred compensation basis are, it seems, thin on the ground. But _

Petitioner was raised to believe that justice should be "blind" - that is,

administered fairly without regard for a person's ability to pay. (Or any other

incidental trait of that person.) In this spirit, because Petitioner finds there are

compelling reasons as to why it should be allowed to proceed in the proper

person of its president and sole shareholder, and because Petitioner feels that a

default judgment would be an unwarranted and unjust outcome for reasons

detailed further below, Petitioner filed an application for leave to proceed pro se

with the district court. That application denied, the issue now comes before this

Court.

         II. Statement of subject matter jurisdiction

         This Court has jurisdiction over this Petition pursuant to the Rule 21 of

the Federal Rules of Appellate Procedure and the All Writs Act, 28 U.S.C. §

1651. See Perry v. Schwarzenegger, 591 F.3d 1147, 1156-57 (9th Cir. 2010).

         III. Relief sought

      Petitioner seeks a writ of mandamus, directing the lower court to enter an

order granting Petitioner leave to appear pro se -    in the proper person of its


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President and sole shareholder -    in all currently pending district court

proceedings, and vacating the lower court's denial of Petitioner's motion to

proceed pro se.

       In the alternative, Petitioner seeks a writ directing the lower court to

appoint counsel so that Petitioner may expeditiously file dispositive motions

with the lower court, with the assistance of counsel.

       Petitioner also respectfully requests that this Court issue an immediate

stay of all proceedings in the lower court, pending the determination of this

Petition and, if the Petition is granted, until such time that the Appeal is decided

       IV. The issues presented

       Whether corporations that cannot afford an attorney must necessarily

default, and therefore be denied their day in court, or whether there are any

other avenues open to them, including the possibility of appearing in the proper

person of their sole owner and shareholder.

      Whether this is in any respect tempered if they are named defendants in

the action, have already raised credible defenses and counter-claims with the

assistance of counsel, or have shown a basic level of competency and are acting

in good faith.

      Whether recently-attained consensus opinions on the theories underlying

corporate personhood, and certain recent Supreme Court decisions made

thereupon, modulate the above issues.




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       Whether the sixth and fourteenth amendments to the US Constitution

guarantee that all persons, including corporations, can have their day in court -

that there shall be no deprivation of property without judgment -      and whether

being compelled to hire counsel on pain of a default judgment constitutes

deprivation of property before judgment.

       Whether forcing a corporation unable to find representation into default

would deprive that corporation of its constitutional right to a jury trial.

       V. Reasons why the writ should issue

       In determining whether to issue a writ of mandamus, this Court must

balance the following five "Bauman" factors, elucidated in Bauman v. U.S. Dist.

Court, 557 F .2d 650, 654-55 (9th Cir. 1977): "(l) whether petitioner has no

other adequate means ... to attain the relief desired; (2) whether petitioner will

be damaged or prejudiced in a way that is not correctable on appeal; (3) whether

the district court's order is clearly erroneous as a matter of law; (4) whether the

district court's order is an oft repeated error or manifests persistent disregard for

the federal rules; and (5) whether the district court's order raises new and

important problems or issues of law of first impression." It is not a requirement

that all five factors be satisfied, and indeed the fourth and fifth are to some

extent contradictory, but in this instance all factors weigh in favor of issuing the

writ. Petitioner addresses each factor below, in sequential order:




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       A. Petitioners have no other adequate means to relief and petitioners

will be damaged and prejudiced in a way not correctable on appeal

       The first Bauman factor is met when "the petitioner lacks an alternative

avenue for relief." Admiral Ins. Co; v. United States Dist.

Court, 881 F.2d 1486, 1491 (9th Cir.1989).

       With the district court's denial of Petitioner's motion for leave to proceed

pro se, Petitioner has no other adequate means to attain the relief sought by this

Petition and will be irreparably damaged and prejudiced without this Court's

intervention, particularly as opposing counsel has already indicated, in a district

court case status conference on 5/18/21, that they are inclined to soon seek entry

of default.

       Petitioner has not sought to certify the district court's order for

interlocutory appeal. Under 28 U.S.C. §1292(b), courts have discretion to allow

an interlocutory appeal when an order ( 1) presents a controlling question of law;

(2) as to which there is substantial ground for difference of opinion; and (3) the

resolution of which would materially advance the ultimate termination of the

litigation.

       With regards to the first: A question is controlling when "reversal of the

district court's order would terminate the action," Klinghoffer v. S.N. C. Achille

Lauro, 921 F.2d 21, 24 (2d Cir. 1990), or, "at a minimum," where

"determination of the issue on appeal would materially affect the litigation's




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outcome." Consub Delaware LLC v. Schahin Engenharia Limitada, 476

F.Supp.2d 305,309 (S.D.N.Y.2007).

       With regards to the third: § 1292(b) "is reserved for those cases where an

intermediate appeal may avoidprotracted litigation." (citing Milbert v. Bison

Labs., 260 F.2d 431, 433-35 (3d Cir.1958)). Courts ''place particular emphasis

on the importance on [the] last factor" of§ 1292(b), Consub Delaware

LLC, 476 F.Supp.2d at 310.

       In the present instance, the question of law, however serious, is not

controlling, nor would granting an interlocutory appeal serve in any way to

shorten the litigation.

       No further procedures exist whereby Petitioner may seek relief, so the

first Bauman factor weighs in favor of granting mandamus.

       Without mandamus relief, Petitioner will suffer substantial harm, and

perhaps indeed fatal harm, that is not remediable later on appeal. Therefore, the

second Bauman factor, which is closely related to the first, also weighs in favor

of granting mandamus.

        B. The District Court erred as a matter of law.

       The district court's core argument in denying Petitioner's motion rests

upon the claim that the prohibition of corporate pro se representation is founded

on a long line of well-reasoned precedent. Even if this claim were true, it should

not prevent the abolition of a rule of law which is repugnant to the even-handed

administration of justice. In addition, it is not even clear that the claim is true.


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    Though the precedent exists, the authorities generally cited for this doctrine lack

    clarity and precision, as will be shown in detail below.

          Further, the district court did not substantively engage with Petitioner's

arguments. It simply noted that "this Court, as a district court, is not

empowered to buck centuries ofprecedent." However justified, this constitutes

a clear error-that of omission. Petitioner's motion was not given full and fair

consideration on the merits. Thus Petitioner's arguments, reconsidered and

revised, will be reproduced below and now come before this Court.

          1. There is little justification for the rule prohibiting corporate pro se

pepresentation.

          The rule prohibiting corporate pro se representation in the United States

is nearly 200 years old, dating back to Osburn v Bank of the United States, 22

US 738 (1824), where the Supreme Court noted in passing that "[a] corporation,

it is true, can appear only by attorney, while a natural person may appear for

himself." Osburn has been repeatedly cited to that effect in the nearly two

centuries since, and although no rationale was given for the rule in Osburn,

subsequent court opinions and judgments have filled in the blanks.

         Osburn has been justified on theoretical grounds in a manner that can be

summarized very simply: As corporations are not natusal persons, they can act

only via agents and officers. Therefore, if they are to act in court they must act

via officers of the court, i.e. via lawyers.




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       This justification, however old and frequently-cited, does not hold up to

 scrutiny. It is self-evidently circular; it assumes its own conclusion. As Judge

Timothy Cotner put it in May a Corporation Act as Its Own Attorney, 16 Clev.-

Marshall L. Rev. 173 (1967), it does not answer "why corporations need agents

in a courtroom and why can 't actions of natural people impute to the

corporation 's action in its own right just as they do in every other instance."

       After all, corporations are afforded the rights to sue and be sued, to enter

into contracts, to testify in court as 30(b)(6) witnesses, and to defend themselves

and press claims in small claims court, among many other constitutionally

granted rights. When testifying in court, and when defending themselves in

small claims court, corporations stand on equal footing with natural persons. In

such instances, they don't require an outside agent -    and, indeed, are frequently

barred from employing outside agents. In such cases, "the corporation appears

in propria persona through some proper representative." Prudential Ins. Co v

Small Claims Court, 76 Cal. App. 2d 379, 384-385. These instances illustrate

that it is possible for a corporation to represent itself in court on its own

behalf, through a non-lawyer representative -that it is possible for a

corporation, despite being an artificial entity, to take action in a court of law in

the United States of America.

      It is important to emphasize that when a corporation appears in small

claims court, it is simply appearing pro se, as any other plaintiff or defendant

would appear pro se. The person representing the corporation is the corporation


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for the claim or defense; the corporation is not appearing via an II other

person. 11 This highlights the notion that corporations can, in certain court

settings, possess agency, and that the notion that they must always act via an

outside agent in court is malleable, rather than set in stone.

       Thus corporations can act on their own behalf in court, when they are

given leave. It is not that they cannot act on their own behalf and therefore must

employ an agent, but that they are, as a general rule, not given leave to act on

their own behalf in court.

       A secondary, but still relatively oft-repeated interpretation derived from

Osburn holds that directors or officers of corporations are constitutionally unfit

to argue cases pro se. ·This derives not from law or statute, but from concerns

that permitting non-attorney corporate parties to bring claims invites abuse of

court processes and unscrupulous conduct. This position was articulated in

Brandstein v. White Lamps, 20~. Supp. 369 (S.D.N.Y. 1937):

       "Were it possible for corporations to prosecute or defend actions in

person, through their own offices, men unfit by character and training, men,

whose credo is that the end justifies the means, dis barred lawyer or lawyers of

other jurisdiction would soon create opportunities for themselves as officers of

certain classes of corporations and then freely appear in our courts as a matter

ofpure business not subject to the ethics of our profession or the supervision of

our bar associations and the disciplines of our courts."




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       This also fails to hold up to scrutiny, for the ruling in Brandstein makes a

baseless empirical claim that men of business are "unfit by character" to

represent themselves in court. Leaving aside for a moment the question of

whether or not this is true, the federal courts have been inundated for

decades with pro se litigation from people in the prison system. If the legal

system can allocate vast resources to hear thousands of cases per year from

convicted criminals, who have already proven themselves to be "unfit by

character" for free participation in society, perhaps it might also be able to make

room for small business owners.

      And are men of business inherently less ethical than officers of the

court? This empirical proposition has been evaluated in the context of

commercial and regulatory law by Parker et al. in the Georgetown J oumal of

Legal Ethics. (See: Parker et al., The Two Faces ofLawyers: Professional

Ethics and Business Compliance With Regulation. Georgetown Journal of Legal

Ethics, Vol. 22, 2009.) Their analysis indicates that lawyers are no more ethical

than the businessmen who employ them, and may be less ethical, in that "{o]ur

data suggest that to the extent lawyers influence clients, it is towards game-

playing, not commitment to compliance or resistance to compliance."

      Further, the overall impression received by Parker is that: "lawyers

supply services that incline clients to increasingly accept legal risk and adopt a

gamester approach to law and regulation."




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       Clearly, this does not suggest that lawyers have a monopoly on

ethics. Thus the notion that lawyers are uniquely or especially ethical, and that

non-lawyer businessmen are too unethical to be trusted to defend themselves in

court, seems to be at minimum unfounded, and is apparently simply false as an

empirical proposition.

       In any case, this secondary interpretation of Osborn also wholly

disregards the court's ability to manage litigation under Rule 11, 28 U.S.C.

1927, the rules regarding discovery abuse, and the court's inherent

power. Disbarred lawyers who improperly attempt to weasel their way back

into the courtroom by declaring themselves officers of corporations can, and

probably should, be sanctioned or held in contempt. That does not apply in this

case, nor does it seem that it should apply in any case where the party in

question is named defendant-i.e., is not in court of his or her own free will.

       Ultimately, the reasons given for the prohibition on corporate pro se

representation have scant logical and factual justification.

       2. The expansion of corporate rights 2008-present.

       The Supreme Court has explicitly stated that a precedent can be overruled

if its logic has been weakened by intervening decisions, and such gradual

erosion is often how a once-important precedent loses its force, whether or not it

is ever formally overruled.

       Corporations have long been considered "persons." As Justice Brennan

explained in Monell v. Dep 't ofSoc. Servs., 436 U.S. 658,687 (1978), "by 1871,


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it was well understood that corporations should be treated as natural persons

for virtually all purposes of constitutional and statutory analysis."

       The Dictionary Act, 1 U.S.C. 1, notes that "the words "person" and

 "whoever" include corporations; companies, associations, firms, partnerships,

societies, and joint stock companies, as well as individuals." The Supreme

Court has ruled along such lines since the emergence of the modem corporate

form in the 19th century. (With the rise of general incorporation statutes after

the Civil War, any entrepreneur became able to use the corporate form for any

lawful purpose.) "Corporate personhood" has become settled, and is

unambiguous as a matter of law.

       On a theoretical level, the courts have generally supported the so-called

aggregate theory of the firm. That is, the notion that the corporation is "an

association of individuals contracting with each other in organizing the

corporation, with its core attributes as an artificial legal person supplemented

by the attribution to it of constitutional rights of its sha~eholders." (See Philip

Blumberg, The Corporate Personality in American Law: A Summary Review,

AM. J.COMP. L. 49, 49 (1990))

       In The Railroad Tax Cases, 13 F. 722, 744 (C.C.D. Cal. 1882), Justice

Field encapsulated the core concept underlying the aggregate theory succinctly:

        "It would be a most singular result if a constitutional provision intended

for the protection of every person against partial or discriminatory legislation

by the states should cease to exert such protection the moment the person


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 becomes a member of the corporation. ... The courts will always look beyond

 the name of the artificial being to the individuals whom it represents."

       Even older judgments have looked past the artificial nature of the

- corporation to emphasize the "individual[s] whom it represents." For instance,

 Proprietors of Charles River Bridge v. Proprietors of Warren Bridge, 36 U.S.

 420 (Pet. 1837):

        "It is the object and effect of the incorporation, to give to the artificial

person the same capacity and rights as a natural person can have. ... It

 bestows the character and properties of individuality on a collective and

 changing body ofmen, by which their rights become as sacred as if they were

 held in severalty by natural person. ... "

       Yet, even with all of that said, there has been a vast, and much

commented upon, expansion in corporate rights over the past 13 years.

       In 2008, Citizens United v. Federal Election Commission 558 U.S. 310

(2010) was said, perhaps somewhat wrongly in light of the above, to have

marked a pivotal shift in the court's understanding of corporations and their

legal rights. A nonprofit corporation, Citizens United, challenged the

constitutionality of a federal statute which suppressed their ability to participate

in electioneering campaigns. The Supreme Court found that the statute's

prohibition was an unconstitutional ban on political speech -- for, as the

corporation is fundamentally an association of individuals, the corporation




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should not be treated differently from a natural person under the First

Amendment.

       In so doing, the Supreme Court explicitly endorsed the aggregate theory

of the firm, and gave their support to the notion that corporations deserve legal

rights because those rights ultimately protect the corporations' real-life

constituents.
                                               I

       This point is sharpened when one considers Burwell v. Hobby Lobby

Stores, Inc., 573 U.S. 682 (2014), wherein it was held that corporations

themselves have a right to religious freedom under the First Amendment under

federal statute, and are entitled to an exemption from the ACA mandate to cover

birth control in employee health plans. In his majority opinion, Justice Alito

pointedly emphasizes that the purpose of the legal fiction of corporations as

persons is ultimately for the benefit of humans: ''protecting the free-exercise

rights of corporations like Hobby Lobby ... protects the religious liberty of the

humans who own and control those companies."

       Hobby Lobby makes clear the proposition that the protection of the

individuals who make up the firm is the key issue at stake, not the protection of -

the firm in its own right, as a separate entity. Along exactly the same lines,

affording corporations the ability to defend themselves pro se would protect

the ~ndividual freedoms of the humans who own and operate corporations,

and similarly situated small businesses and organizations. This includes the

freedom to assert one's rights, the freedom to defend oneself in court regardless


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of financial status, and the freedom not be deprived of one's livelihood by court

or government action, which is a freedom of unparalleled importance. For, as

Shakespeare once had Shylock say, ''you take my life I When you do take the

means whereby I live. "

       3. ~bligatory counsel in view of the Star Chamber

       In Faretta v. California, 422 U.S. 806 (1975), the Supreme Court briefly

characterized the infamous Star Chamber of Tudor and early Stuart England.

                     "[TheJ Star Chamber has for centuries symbolized disr~gard
              of basic individual rights. The Star Chamber not merely allowed
              but required defendants to have counsel. The defendant's answer to
              an indictment was not accepted unless it was signed by counsel.
              When counsel refused to sign the answer, for whatever reason, the
              defendant was considered to have confessed Stephen commented
              on this procedure: "There is something specially repugnant to
             justice in using rules ofpractice in such a manner as to debar a
             prisoner from defending himself, especially when the professed
             object ofthe rules so used is to provide for his defense." 1 J.
             Stephen, A History of the Criminal Law ofEngland 341-342 (1883).
              The Star Chamber was swept away in 1641 by the revolutionary
             fervor of the Long Parliament. The notion of obligatory counsel
             disappeared with it. "

      That notion did not quite disappear. Petitioner begs the Court consider

the following: The district court does not merely allow but requires Petitioner

to have counsel. Petitioner's answer and meritorious counter-claims are not

accepted unless signed by counsel, and are stricken and discarded unless

Petitioner retains counsel at all times through the lengthy course of the

proceedings. If Petitioner cannot afford to retain counsel, or wishes to provide

for its own defense for any other reason, Petitioner is considered to have



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confessed. (The most-cited theory underlying default judgments is that, by its

failure to timely answer or acknowledge the jurisdiction of the court, the

defaulting party implicitly "admits the cause ofaction is valid, admits [it] has

no defense, and consents to suffer judgment." Keeler Bros. v. Yellowstone

Valley Nat'/. Bank, 235 F. 270,270 (D. Mont. 1916))

       The aforementioned practice of the Star Chamber was considered

"specially repugnant to justice" as long ago as 1883. Yet analogous situations

persist, as in the present instance.

       It is especially illustrative to consider the 163 7 Star Chamber prosecution

of Burton, Bastwick, and Prynne for seditious libel. The three men composed

answers to the charges against them, but because those answers were not signed

by an attorney, they were stricken and discarded. Pyrnne begged the court to

accept an answer written and submitted by his own hand, noting that he "cannot

procure" counsel, and citing interesting precedent from Ancient Judean and

Roman Law:

              "Because by the judiciall Law among the Jewes, every man was to
              make his owne defence, neither did their Law judge any man,
              before it heard him and knew what hee did. John 7. 51. And by the
              civill Law, even among the Pagan Romans, it was not the manner
              to condemne any man, before that hee who was accused had the
              accusers face to face, and had Licence to answer for himselfe
              concerning the crime layd against him, Acts 25. 16. If then the
             Lawes amongst Jewes, and Pagans, gave every defendant leave,
              thus to make answer for himselfe, and never condemned any as
             guilty for not answering by counsel/ (as appeares by the cases of
             Naboth, Susanna, Christ and others, though unjustly condemned,
             yet not without a full hearing, and witnesses first produced, though
             false,) this defendant humbly conceiveth, that by the Lawes and


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              Justice of this Christian Common-Wealth, and this honorable
              Court, hee ought to have like liberty in this cause ofso great
              consequence, and that the Information against him ought not to be
              taken, Pro confesso, without hearing witnesses, or defence. "

       Pyrnne also referred to Alexander Leighton's trial, seven years prior,

wherein the Crown's attorney general himself had moved that the Star Chamber

accept Leighton's answer under Leighton's own hand, unsigned by counsel,

"lest the defendant thereby excuse his contempt in not answering."

       But Pyrnne was not so fortunate. His answer was struck, and he was

convicted, on arbitrary and strictly procedural grounds. Similarly, Petitioner's

answer and meritorious counter-claims will be struck, and Petitioner may be

held pro confesso, unless this Court intervenes.

       To conclude the tale: Pyrnne was sentenced to mutilation, which was

carried out, and to life imprisonment in Jersey's Mont Orgueil. There he was,

by all accounts, treated fairly by the island's governor, and was soon in any case

freed by the Long Parliament in 1640, the judgment against him declared illegal.

       4. A corporate pro se right is justified on public policy grounds

       i. Non-lawyer representation in the courts now exists.

       Public policy is shifting towards the expansion of access to justice in

remarkably innovative ways.

       Arizona - home of the the district court action which is the cause of this

Petition - has just started to allow non-lawyers to practice law as

"paraprofessionals," and has also recently begun to permit non-lawyer



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ownership and direction of- and outside investment in - law firms. With

these innovations, the right to practice law is evidently becoming broader, and

these innovations were explicitly instituted for the aforementioned reasons of

access to justice and the protection of citizens' rights.

       "The court's goal is to improve access to justice and to encourage

innovation in the delivery of legal services," Arizona Supreme Court Chief

Justice Robert Brutinel said in a recent statement.

       Thus non-lawyers already argue cases on behalf of clients in Arizona.

Though     there   are   admittedly    certain limitations     on the     ability of

paraprofessionals to practice law, "only lawyers may represent others in court,"

is no longer a truism. On balance, this is a point in favor of allowing a corporate

pro se right; it indicates that the logical basis for the prohibition of corporate pro

se representation is eroding and losing its force.

       ii. Contra corporatism, in support of small business.

       The notion, stated above, that the people behind corporations need any

further protection might seem unusual, given the high profile and obvious

financial and political power of so many large corporations. But this notion is

no less true for all that, for the large corporation is the exception rather than the

rule: The vast majority of corporations in this country are closely held. The IRS

estimates that there are more than 5 million active S corporations in the United

States, and over a million active C corporations. Only a tiny fraction of these

corporations are publicly traded; the number of publicly traded American


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corporations peaked at 8884 in 1997, and is now closer to 6000. So although

the word "corporation" is often casually associated with the famous logos of

powerful mega-corporations, the overwhelming majority of corporations in the

USA are nothing like Amazon or Exxon, but instead are small owner-managed

firms: The mom-and-pop grocer; the small town real-estate management firm;

the cell-phone repair shop. The individuals behind these small corporations

would be protected if they can assert a pro se right; it would improve their

access to justice, and, pointedly, would somewhat alleviate the coercive or

threatening aspect of litigation in itself. It would guarantee small firms the

opportunity to be heard; for, whether they are mounting a defense or claiming a

legal right, there is no way to determine the truth of their position except by

adjudication. Failure to do so denies them access to the courts.

      , The Dictionary · Act does not distinguish between closely-held

corporations, publicly-traded corporations, and nonprofit corporations. It

designates all "corporations" as persons.     The corollary is simply that all

corporations and associations of persons deserve to be able to exercise pro

se privileges. This is worth special mention because although it would benefit

the vast majority of closely-held corporations, it would not benefit large

publicly-traded corporations, and, by at least partially ameliorating the

coercive aspect of litigation, may even inconvenience them. It would become

that much harder to bully smaller firms in negotiations, or destroy them in legal

wars of attrition.


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       Thus, though it would be facile to view allowing a corporate pro se right

as a boon for corporatism and yet another expansion of corporate power, in

practice it would be precisely the opposite. By mandating, as a genera\ rule,

that all corporations, no matter their size, acquire representation in all matters

brought before the court, including defenses, the legal system can serve a

gatekeeper function that stymies competition and free enterprise, poses a barrier

to grassroots entrepreneurship, and, to reiterate for emphasis what was just

noted above, it renders small businesses excessively sensitive to intimidation

from both competitors and regulators. The general rule benefits large business at

the expense of small business and nascent competition. This is simply because,

in many instances, small businesses cannot afford the increasingly onerous

expenses associated with professional legal representation.

       Allowing corporations to mount their own defense will balance the scales

of justice, helping to ensure that these small corporations and start-up

companies can assuredly have their day in court at no exorbitant cost,

particularly when paying for representation would destroy them or strangle

them in their cradle -    as in the present instance. Allowing corporations and

other associations of persons to mount their own defense will, as such, not only

protect the liberties of the humans who own and control small corporations, it

will empower. them in the face of the law, and will surely foster a more

competitive business landscape, thereby making for good public policy in

addition to more equitable justice ..


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         4. There is a constitutional argument in favor of a corporate pro se

right.

         It must also be argued that corporations may enjoy a constitutional right

to represent themselves pro se, which Petitioner begs this Court consider.

         The Fifth Amendment clearly states that one cannot be denied one's

property without due process of law, and the Fifth Amendment has been found

to be applicable in civil cases. In a rare case of Constitutional reiteration, the

Fourteenth Amendment says much the same thing: "nor shall any State deprive

any person oflife, liberty, or property, without due process of law"

         The Arizona Constitution contains the same language, (Ariz Const, 2

4):    "No person shall be deprived of life, liberty, or property without due

process oflaw."

         Being forced to pay for legal representation -         on pain of a default

judgment which is tantamount to a death sentence for many a corporation, and

in many cases would inflict terrible injustice -           is plainly deprivation of

property before judgment.

         This is especially true as there is a severe paucity, if not an outright lack,

of Legal Aid services for small businesses and corporations. And in contrast to

Plaintiffs' firms who routinely accept cases on a contingency basis, virtually no

law firms will take on the defense of a corporation on contingency. Thus in

order to defend themselves, corporations must pay, before and without judgment.




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         Certainly, with some luck, a corporation might find counsel willing to

work on a contingency basis, or another sort of alternate fee arrangement - but

this cannot be taken for granted, and it typically only applies in a narrow subset

of cases. Many corporations can beg for assistance in their defense, and yet find

none. This depends on factors including the type of their case, the amount in

dispute, the presumptive ability of plaintiff to pay a judgment, and many other

considerations, including mere luck. Should justice be denied, in any case,

because it does not appeal to lawyers who work on a contingency basis and

seek a portion of the recovery?          Besides, begging for assistance on a

contingency basis, hat in hand, is injurious to ones dignity; mounting one's own

defense pro se - or defending one's own property or domain pro se, as the case

may be - is the more honorable thing.

         Arizona Substantive Law is controlling in this civil case, and the Arizona

Constitution (Ariz Const, 2 13) also notes that "[n]o law shall be enacted

granting to any citizen, class of citizens, or corporation other than municipal,

privileges or immunities which, upon the same terms, shall not equally belong

to all citizens or corporations." (Emphasis added.) The ability to argue one's

case in court is a privilege, and has been referred to as such, but does not belong

equally to all citizens and corporations, still less is it offered on equal

terms.     Arizona's natural citizens clearly enjoy a pro se right denied to

corporations and corporate citizens. See also, e.g., 28 U.S.C. §1332, which

defines corporations as citizens for the purposes of Federal diversity jurisdiction.


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       Finally, on this score, the Seventh Amendment protects Petitioner's right

to a jury trial. Yet, in the present instance, denying Petitioner's motion to

proceed in the proper person of its President and sole shareholder may force

default, deprive Petitioner of the right to a jury trial, and deny it its day in court.

This after Petitioner has already made an answer signed by an attorney, has

acknowledged the proper jurisdiction of the lower court, and stands semper

paratus to answer any complaint laid against it.

       It must be further noted that the issuance of a writ of mandamus is proper

in such an instance. The Supreme Court, in Beacon Theatres, Inc. v. Westover,

359 US 500, 511, stated in the bottom line of their ruling that, "Whatever

differences of opinion there may be in other types of cases, we think the right to

grant mandamus to require jury trial where it has been improperly denied is

settled." In support of this assertion, The Supreme Court cited many cases

including Ex parte Simons, 247 U. S. 231, 239-240, and Ex parte

Peterson, 253 U. S. 300, 305-306. Even the dissenting Justices noted, in the

first line of their dissent, "There can be no doubt that a litigant is entitled to a

writ of mandamus to protect a clear constitutional or statutory right to a jury

trial." This, independently of Bauman, is a factor which weighs in favor of

granting·mandamus.

       5. There is precedent

       There is little precedent for a corporate pro se right, but there is

precedent.


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         In Se/lent-Repent Corp. v. Queens Borough G. E. Co., 160 Misc. 920, 290

N.Y.S. 887 (N.Y. Misc. 1936), a New York court determined that a corporation

can represent itself.

                      ''A corporation is a legal entity, often spoken of as an
              artificial person and by the same fiction like a natural body having
              power to act and reason. A corporation may employ an agent or
              attorney to act on its behalf in the same manner as a natural
              person, but the act ofthe corporate officer in employing an agent is
              the act of the corporation. [ ...] When a corporation does not go
              outside its own corporate machinery in the performance of a
              corporate act, it is acting in person and upon an equal footing with
              a natural person, including the right to sue in person. "


         Similarly, and more forcefully, the Eastern District of New York allowed

a corporation to represent itself in bankruptcy, in Matter of Holliday's Tax

Services, Inc., 417 F. Supp. 182 (E.D.N.Y. 1976). There the court forcefully

noted:

                      "The theory is clear. A corporation is an artificial entity
              which can act only through agents. 9 Fletcher on Corporations §
              4463 (1931, Cum.Supp.1975). Courts require that a special form of
              agent, an attorney, appear for corporations in litigation for the
              ''protection of the courts and the administration ofjustice. " Mercu-
              Ray Industries, Inc. v. Bristol-Myers Company, 392 F.Supp. 16, 19
              (S.D.N.Y.), affd, 508 F.2d 837 (2d Cir. 1974). No doubt the rule
              protects the courts ''from pleadings awkwardly drafted and motions
              inarticulately presented." Simbraw, Inc. v. United States, 367 F.2d
              373, 375 (3d Cir. 1966).
                      "A person's day in court is, however, more important than
              the convenience of the judges. We recognize this hierarchy of
              values when we guarantee by statute (28 U.S.C. § 1654) and
              Constitution (Faretta v. California, 422 U.S. 806, 834, 95 S. Ct.
              2525, 2540-41, 45 L.Ed.2d 562 (1975)) the right of real persons to
              appear pro se. To require this corporation to appear by a lawyer is
              effectively to exclude it and its sole shareholder from the courts."



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       In Victor Co. v. Sleininger, 255 App. Div. 673 (N.Y. App. Div. 1939), the

court made much the same argument, and further asked a question now in front

of this Court:

                     "Suppose a corporation were too impoverished to employ a
              lawyer to defend it, or suppose it had a large claim it believed to be
              just but could find no lawyer who would take the case, believing it
              hopeless, should the corporation be denied its day in court?"

       There are numerous other cases where business and other artificial

entities did not hire representation, but were able to have their day in

court. Quarrier v. Peabody Ins. Co. 10 W. Va. 507, held that while a

corporation cannot appear in propria persona, it may appear by its president.

This Court, in United States v. Reeves 431 F.2d 1187 (9th Cir. 1970), reversed a

district court's ruling that a partner could not represent a partnership. In United

States v. Burk, EP-14-CR-240-DCG (W.D. Tex. Jun. 18, 2014), a corporation

was appointed representation. In Fraass Survival Systems v. Absentee Shawnee,

817 F. Supp. 7 (S.D.N.Y. 1993), an Indian tribal government was permitted to

appear pro se. In reviewing these cases, it is clear that the choice is not

necessarily a binary one between buying representation and default; other

possibilities are left to the discretion of the Court.

       6. An old and oft repeated error of law.

      In light of all of the above, Petitioner believes that the prohibition of

corporate pro se representation is an error of law, and an oft repeated error,

which indeed has centuries of precedent behind it. Yet, for the many reasons



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aforementioned, Petitioner believes that it is no less an error for all that, and that

said precedent has indeed eroded under the weight of those centuries -       in light

of changing theories of corporate personhood and the rights due those people

who make up corporations, in addition to its many other problems. The third

and fourth Bauman factors therefore weigh he,avily in favor of granting

mandamus, and Petitioner respectfully requests the Court address this issue

before the error is repeated elsewhere.

       C. The district court's order raises new and important problems or

issues of law of first impression

       Upon information and belief, the matter raised in the present Petition

raises issues of law of first impression in the Ninth Circuit.

       This Court's well-reasoned decision in United States v. Reeves is now

over 50 years old. Theory has since advanced. Public policy has since shifted.

Yet, to Petitioner's surprise, the issues in question here seem to have not risen

since, and Reeves is furthermore not precisely analogous to the matter at hand.

       It may be that, as Alexander Pope once wrote,

             "Vice is a monster ofsuch frightful mien
             As to be hated, needs but to be seen.
             But seen too oft, familiar with its face
             We first endure, then pity, then embrace. "

       With "vice" and "error," which so frequently amount to the same thing,

here taken to be interchangeable. In other words, it seems that an error oft




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repeated, with such a familiar face, is first endured, is later embraced as case

law, and is subsequently challenged only very infrequently if at all.

       Must then a corporation that cannot afford representation default? Is

justice truly served in such a case, if default functions as "an admission that the

[plaintiff's] cause ofaction is valid ... and that it has no defense," yet if this is,

emphatically, not the case in reality? If default is simply a sanction for non-

compliance with district court rules, Petitioner holds and represents to the Court

that it has done nothing worthy of that most severe sanction, save for the fact

that its pockets are not quite so deep as plaintiffs, and that it has heretofore

been unable to procure counsel. Petitioner has taken unusual measures: Has

contacted its congressman, has reached out to the Institute for Justice, has

spoken with several "litigation financiers" including prominent Silicon Valley

firms e.g. Legalist, yet has nevertheless been unable to secure aid. Petitioner is,

however, unbowed and submits that it stands ready and willing to competently

answer any complaint laid against it. Petitioner therefore begs the leave of this

Court, that it may appear in the proper person of its President and sole

shareholder, in its belief that this is the surest way for it to obtain justice, and in

its belief that this is the most honorable and dignified course of action available

to it. Petitioner, however, will not disdain any other relief the Court sees fit to

offer. (e.g., special leave to file a dispositive motion with the lower court.)

       Ultimately, however, Petitioner begs this Court answer the unresolved

and indeed novel question of whether Osburn v Bank of the United States


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remains good law. Petitioner believes that it does not, and, accordingly, that a

writ should issue.

       D. The court should stay proceedings, pending resolution

       Petitioner also asks this Court to invoke its authority under the All Writs

Act, 28 U.S.C. § 1651, to immediately stay all proceedings while it considers

this mandamus petition. See also 9th Cir. General Order 6.8(a) (motions panel

"may also issue a stay or injunction pending further consideration ofthe

application"). Truly irreparable hardship will otherwise come to Petitioner,

who believes that, in favor of a stay, there is a "a substantial case on the merits

and that the balance ofhardships tips sharply in the petitioner's favor." Leiva

Perez v. Holder, 640 F.3d 962,970 (9th Cir. 2011)

       CONCLUSION

      For the foregoing reasons, the Court should issue a writ of mandamus

directing the district court to grant Petitioner leave to proceed in the proper

person of its President and sole shareholder. Petitioner also respectfully

requests that this Court issue an emergency stay of aU proceedings in the lower

court, pending the determination of this Petition and, if the Petition is granted,

until such time that the Appeal is decided.

DATED and RESPECTFULLY SUBMITTED this 24th day of May, 2021.



      Jake G nor,
      Presi ent and Sole Shareholder, Diamond Age Corp.
      Prose on behalf of Petitioner


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                 ADDENDUM: STATEMENT OF COMPETENCE

           Petitioner's sole shareholder and President -- on behalf of Petitioner --

  certifies to the Court that he is over 18 years of age, of sound body and mind,

  and, prior to answering the civil suit that is the basis of this petition, has never

  before had contact with the criminal or civil courts of this nation. He has had

- contact with the legal system as an inventor, with several patents to his credit

  and several pending, many of which were written entirely by his own hand. He

  has had no help whatsoever in preparing this Petition, and believes himself fully

  capable of answering any complaint competently. He nevertheless feels keenly

  the thorny problem on the frontiers of the law that this Petition thrusts upon the

  Court, and begs the Court's patience and forbearance should he have made any

  correctable errors, or overstepped any bounds.

           Petitioner is a Delaware corporation with a principal place of business in

  Texas.



  Dated: May 24th, 2021



  By:         d /4
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  Prose on behalf of Petitioner.


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                    STATEMENT OF RELATED CASES

Pursuant to Circuit Rule 21-3 and Circuit Rule 28-2.6, Petitioner states that

there are no related cases pending before this Court.



Dated: May 24th, 2021



By:       ;Jcf?::
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                            CERTIFICATE OF SERVICE

          I hereby certify that on the 24th day of May 2021, I have mailed this

    document via express courier to the Court Clerk's Office, have mailed it via

    express courier to the office of Judge Douglas Rayes, and have e-mailed it to:


    Bradley A. Burns, Esq.
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          Ganor
    Pro se on behalf of Petitioner




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   CERTIFICATE OF COMPLIANCE WITH PAGE LIMITATION,
 TYPEFACE REQUIREMENTS, AND TYPE STYLE REQUIREMENTS

      This Petition complies with the page limitations of Ninth Cir. R. 21-2 and

32-3 because this petition is not more than 30 pages, and contains 7,661 words,

apart from portions exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

      This Petition complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

brief has been prepared in a proportionally spaced typeface using Microsoft

Word 2010 in 14-point Times New Roman. Margins, moreover, are one inch

on all sides, and no footnotes were utilized.


Dated: May 24th, 2021


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Ja_p6i;Ganor
Pro se on behalf of Petitioner




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